Case 9:18-cv-80176-BB Document 369 Entered on FLSD Docket 01/09/2020 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative               CASE NO.: 9:18-cv-80176-BB/BR
   of the Estate of David Kleiman, and W&K Info
   Defense Research, LLC

          Plaintiffs,

   v.

   CRAIG WRIGHT

          Defendant.

                              PLAINTIFFS’ NOTICE OF FILING
                             A THIRD TULIP TRUST DOCUMENT

         In advance of today’s discovery hearing, Plaintiffs give notice of filing a third Tulip Trust

  document (“Tulip Trust III”) that was not produced under this Court’s prior order to produce all

  documents related to the “blind” tulip trust (ECF No. [166]). Plaintiffs received this document for

  the first time on January 6, 2020, amongst a production of 428 other documents, without any

  explanation as to its late disclosure, or even an email pointing out this document had been

  produced. Pursuant to this Court’s Order (ECF No. [368]), this document is being filed under seal.

   Dated: January 9, 2020                   Respectfully submitted,

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Case 9:18-cv-80176-BB Document 369 Entered on FLSD Docket 01/09/2020 Page 2 of 2




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                                          Counsel to Plaintiffs Ira Kleiman as Personal
                                          Representative of the Estate of David Kleiman and
                                          W&K Info Defense Research, LLC.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 9, 2020, a true and correct copy of the foregoing
  was filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                    /s/ Velvel (Devin) Freedman
                                                    Velvel (Devin) Freedman




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